              Case 3:19-cv-05337-BJR Document 46 Filed 09/18/20 Page 1 of 1



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 7                             UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON AT TACOMA
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 9   Kevin D. Anthony, individually,
                                                            NO.    3:19-cv-05337-BJR
10                         Plaintiff,
                   vs.                                      ORDER     GRANTING                 MR.
11                                                          ANTHONY'S     MOTION                TO
     United States of America,                              FILE UNDER SEAL
12
                           Defendant.
13
            This matter having come before the above-entitled Court upon Mr. Anthony's Motion to File
14
     under Seal. The Court has reviewed the records and files herein, and being fully advised in the
15
     premises, IT IS HEREBY ORDERED that:
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            Mr. Anthony's Motion to File under Seal is GRANTED.
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18          SIGNED this 18th day of September, 2020.

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                                                        Honorable Barbara J. Rothstein
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